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VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF RICHMOND


GARY MCCRAY,

              Plaintiff,

v.                                        AT LAW NO.:

BARRY L. NEELYt

              Serve:        Barry L. Neely
                            1485 Ctiff Road
                            Bolivar TN 38008

And

MILAN SUPPLY CHAIN SOLUTIONS, INC.

              Serve:        Scott Schweitzer, Registered Agent
                            Milan Supply Chain Solutions, lnc.
                            1091 Kefauver Dr.
                            Milan TN 38358-3412



              Defendants.



                                      COMPLAINT

        Plaintiff, by counsel, for his Complaint, states as follows, and seeks judgment

against the Defendants, in the amount listed below:

        1.    On June 5, 2014, at approximately 7:15 p.m., Gary McCray ("Plaintiff'),

was the driver of a truck that was stopped in the parking lot of the Pilot Travel Center

located at 3634 North Valley Pike, Harrisonburg, Virginia.

        2.    On June 5, 2014, Plaintiff was seated in the drfver's seat of his truck that

was stopped in the parking lot of the Pilot Travel Center in Harrisonburg. Virginia.


                                                                                       EXHIBIT

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       3.      On June 5, 2014, Defendant Barry L. Neely ("Neely"), a resident of

Bolivar, Tennessee, was operating a truck in the parking lot of the Pilot Travel Center in

Harrisonburg, Virginia.

       4.     On June 5, 2014, Defendant Neely was an employee of Defendant Milan

Supply Chain Solutions, Inc., ("Milan") fonnerly known as Milan Express Co., Inc., a

Tennessee corporation based in Milan, Tennessee.

       5.     On June 5, 2014t Defendant Neely was acting in the scope and course of

his employment or agency for Defendant Milan when he was operating a truck in the

parking lot of the Pilot Travel Center in Harrisonburg, Virginia

       7.     On June 5, 2014, Defendant Neely was talking to his son on his cellular

telephone while operating his truck in the parking lot of the Pilot Travel Center in

Harrisonburg, Virginia.

       8      On June 5, 2014, Defendant Neely struck the stopped truck in which

Plaintiff was seated.

       9.     On Junes •. 2014t it was the duty of Defendant Neely to operate his vehicle

with reasonable care and with due regard for others using the road, and to obey all

applicable local, state, and federal laws in effect at the time.

       10.    Notwithstanding those duties, and in breach of them, Defendant Neely did

carelessly, recklessly and negligently operate his vehicle such that he collided with the

front driver's side of the stopped truck in which Plaintiff was seated. Defendant Neely

was negJigent in that he:

              (a)       Failed to keep a proper lookout;

              (b)       Operated the vehicle which he was driving at an excessive and




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unsafe rate of speed, given the conditions and circumstances, including the weather

and traffic flow, then and there existing;

                  (c)   Failed to apply his brakes in time to avoid causing the crash in

which Plaintiff was injured;

                  (d)   Failed to keep the vehicle that he was driving under proper control;

                  (e)   Failed to give full time and attention to the operation of the· vehicle

that he was driving;

                  (f)   Was distracted by talking on his cellular telephone while operating

his vehicle;

               (g)      Otherwise failed to obey the federal, state and local rules of the

road in effect.

       11.     As a direct and proximate result of the Defendants' negligence, Plaintiff

was injured; has been prevented from transacting his business; has suffered and will

continue to suffer great pain of body and mind; has sustained permanent injury; has

suffered and may contjnue to suffer lost wages and loss of earning capacity; and has

incurred and witl continue to incur medical bills in an effort to be cured of his injuries.

       WHEREFORE, Plaintiff prays for judgment against the Defendants jn the amount

of ONE MILLION DOLLARS ($1,000,000.00), as compensatory damagesr plus interest

from the date of the accident until paid, plus his costs in this matter expended.



                          PLAINTIFF DEMANDS TRIAL BY JURY.




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                                  GARY MCCRAY

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                                             Of Counsel

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VIRGINIA:

        IN THE CIRCUIT COURT OF THE CITY OF RICHM:OND

GARY McCRAY,

        Plaintiff,

v.                                                           Case No. CL16-2536

BARRY L. NEELY

and

MILAN SUPPLY CHAIN SOLUTIONS, IN'C.,

        Defendants.


                                            ANSWER

        Defendants Barry L. Neely (''Neely") and Milan Supply Chain Solutions, Inc. ("Milan")

(together, "Defendants''), by counsel, state the following for their Answer to Plaintiff Gary

McCray's ("McCray") Complaint:

        1.      Defendants lack sufficient knowledge either to admit or deny the allegations

contained in paragraph 1 of the Complaint and therefore deny the same.

       2.       Defendants lack sufficient knowledge either to admit or deny the allegations

contained in paragraph 2 of the Complaint and therefore deny th~ same.

       3.       The Defendants-state upon information and belief that on June 5, 2015 Neely, a

resident of Bolivar, Tennessee, was operating a truck in the parking lot of the Pilot Travel Center

in the County of Rockingham near Harrisonburg, Virginia




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 ... ·- 4.      The Defendants state that-on July 5, 2014 Neely was an employee.ofMilan,

formerly named Milan Express Co., Inc., which is a Tennessee corporation based in Milan,

Tennessee.

        5.      The allegations contained in paragraph 5 of the Complaint state legal conclusions

to which no response is required. To the extent a response is required, Defendants state Neely

was acting in the scope of his employment with Milan when operating a truck in the parking lot

of the Pilot Travel Center in the County of Rockingham near Harrisonburg, Virginia

        6.     The Complaint contains no paragraph numbered as paragraph 6. Defendants will

respond to the remaining paragraphs· of the Complaint as they are numbered in the Complaint.

        7.     Defendants lack sufficient knowledge either to admit or deny the allegations

contained in paragraph 7 [sic] of the Complaint and therefore deny the same.

        8.     Defendants lack sufficient knowledge either to admit or deny the allegations

contained in paragraph 8 [sic] of the Complaint and therefore deny the same.

        9.     The allegations contained in paragraph 9 of the Complaint state legal conclusions

to which no response is required. To the extent a response is required, the Defendants deny all

allegations against them contained in paragraph 9 [sic] of the Complaint.

        10.    Defendants 4eny the allegations contained in paragraph 10 [sic] of the Complaint,

including each of its subparts.

        11.    Defendants deny the allegations contained in paragraph 11 [sic] of the Complaint.

        12.    Defendants hereby deny all allegations contained in the Complaint that

Defendants have not expressly admitted herein.




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...... _ .... · -h· ·-. ~,·. ··-·'·                     ---AFFIRMATIVE DEFENSES

                                 13.   McCray was not injured to the extent alleged, if at all.

                                 14.   McCray's alleged injuries were caused by another over whom Defendants had no

                    control.

                                15.    Defendants reserve the right to assert any and all defenses at trial, and Defendants

                   further reserve the right to amend their An.swer as they may be so advised.

                                WHEREFORE, for the foregoing reasons, Defendants Barry L. Neely and Milan Supply

                   Chain Solutions, Inc., by counsel, deny that they are indebted to Plaintiff Gary McCray in any

                   amount whatsoever, and Defen~ants respectfully request that this matter be dismissed with

                   prejudice, that the Court award them their costs, and that the Court grant any other and further

                   relief that it may deem just and proper.


                   DATED: July 13, 2016                                      BARRY L. NEELY and
                                                                             J\filAN SUPPLY CHAIN SOLUTIONS,
                                                                             INC.




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       I hereby certify that on July 13, 2016, I caused a true copy of the foregoing to be sent via

U.S. mail and facsimile to

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VCRGINIA:

         IN THE CIRCUIT COURT OF THE CITY OF RICFIMOND

GARY McCRAY,

         Plaintiff,

v.                                                            Case No. CL16-2536

BARRY L. NEELY

and

MILAN SUPPLY CHAIN SOLUTIONS, INC.,

         Defendants.

                      OBJECTION TO VENUE AND MOTION TO TRANSFER

         Defendants Barry L. Neely (''Neely'') and Milan Supply Chain Solutions, Inc. ("Jvfilan")

(together, "Defendants"), by counse~ hereby object to venue in this Court and move to transfer

this matter to the Circuit Court of.the County of Rockingham pursuant to Sections 8.01-262,

8.01-264, and 8.01-265 of the Code of Virginia ("Motion"). In support of their Motion,

Defendants state the following:

         1.      Plaintiff Gary McCray's ("McCray") allegations giving rise to bis claims against

Defendants occurred in the County of Rockingham, Virginia

         2.      Neither Neely nor Milan reside or have their respective principal place of

employment in the City of Richmond.

         3.      Milan's chief officer does not reside in the City of Richmond.

         4.      Neither Neely nor Milan maintain a registered office in the City of Richmond, and

neither have appointed an agent to receive process in the City of Richmond.


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        5.     Upon information and belief, Neely does not regularly conduct substantial

business activity in the City of Richmond.

       6.      Milan does not regularly conduct substantial business activity in the City of

Richmond.

       7.      Venue in the City of Richmond is not therefore permissible pursuant to Section

8.01-264 of the Code of Virginia. Because this cause of action, as alleged, arose in the County

of Rockingham, venue for this action is permissible in the County of Rockingham.

       WHEREFORE, for the foregoing reasons, Defendan~s Barry L. Neely and Milan Supply-

Chain Solutions, Inc., by counsel, object to venue in this Court and request that this Court

transfer this matter to the Circuit Court of the County of Rockingham pursuant to Sections 8.01-

262, 8.01-264, and 8.01-265 of the Code of Virginia.


DATED: July 13, 2016                                 BARRY L. NEELY and
                                                     :MILAN SUPPLY CHAIN SOLUTIONS,
                                                     INC.




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Counsel for Defendants



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                                          CERTIFICATE . . . ·-

       I hereby certify that on July 13, 2016, I caused a true copy of the foregoing to be sent via

U.S. mail and facsimile to

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Wilson & Hajek, LLC
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Ivy, VA 22945
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